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                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                            NORTHERN DIVISION
                                COVINGTON

CRIMINAL CASE NO. 2:16-CR-47-ART

UNITED STATES OF AMERICA,                                   PLAINTIFF,

v.

WILLIAM MILLER,                                             DEFENDANT.

                               NOTICE OF APPEAL

      Now comes the Defendant, William Miller, by and through counsel, and hereby

appeals to the United States Court of Appeals for the Sixth Circuit from the Judgement

pronounced on May 29, 2018.

                                 Respectfully submitted,


                                 /s/ Eric G. Eckes
                                 ERIC G. ECKES
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Case: 2:16-cr-00047-DLB-CJS Doc #: 90 Filed: 05/31/18 Page: 2 of 2 - Page ID#: 453




                            CERTIFICATE OF SERVICE

        I hereby certify that an exact copy of the foregoing document was provided via

the Court’s electronic filing system upon the parties of record, on the 31st day of May,

2018.

                                        /s/ Eric G. Eckes________
                                        Eric G. Eckes




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